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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                    8:12CR282
       vs.                                 )
                                           )                      ORDER
JULIO FAVELA-PEREZ,                        )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO EXTEND TIME TO FILE
PRETRIAL MOTIONS [191]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 32-day extension. Pretrial
Motions shall be filed by December 31, 2012.

       IT IS ORDERED:

       1.    Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS [191]
is granted. Pretrial motions shall be filed on or before December 31, 2012.

       2.     The defendant is ordered to file a waiver of speedy trial as soon as
              practicable.

       3.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between November 29, 2012 and
December 31, 2012, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 3rd day of December, 2012.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
